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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                       (at London)

    UNITED STATES OF AMERICA,                       )
                                                    )
          Plaintiff,                                )     Criminal Action No. 6: 09-16-S-DCR
                                                    )
    V.                                              )
                                                    )
    STANLEY BOWLING, et al.,                        )         MEMORANDUM OPINION
                                                    )             AND ORDER
          Defendants.                               )

                                           ***     ***     ***

         Defendant Stanley Bowling makes two arguments in his objections to his Presentence

Investigation Report that were not raised by other defendants with respect to the base offense

level calculations regarding Count One.1 Both arguments are incorrect and his objections

will be overruled for the reasons discussed below.

         I.     Rule of Lenity

         Bowling first argues that the Court may base his sentence only on the voter-bribery

racketeering act and not any of the other charged predicate acts.2 [Record No. 1153, p. 3]

In support, he points to the Court’s earlier rulings regarding the honest-services, extortion,

and obstruction predicates, as well as the Sixth Circuit’s decision in United States v. Johnson,



1        Bowling’s arguments address both Count One and Count Two.

2       Application of § 2C1.1 would be based on the relevant conduct cited by the government (i.e., bribery
of a public servant).

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430 F.3d 383 (6th Cir. 2005). Bowling maintains that Johnson requires the Court to apply

the rule of lenity — and, consequently, U.S.S.G. § 2H2.1 — to his Count One conviction.

       In Johnson, one defendant (Stone) was convicted of RICO conspiracy and substantive

RICO violations. Id. at 386. The alleged RICO predicate acts were murder, arson, and mail

fraud. Id. at 388. As in Bowling’s case, the jury rendered a general verdict that did not

specify what predicate acts were attributable to the defendant. Id. at 399. At sentencing, the

court found by a preponderance of the evidence that the defendant had committed each of

the alleged predicate acts and, as a result, he was sentenced based on the guideline for the

most serious of those acts (murder). Id.

       On appeal, the Sixth Circuit held that “[b]y finding that he had committed all four

predicate acts by a preponderance of the evidence and sentencing him accordingly, the

district court deprived Stone of his Sixth Amendment right to trial by jury.” Id. at 400.

Therefore, the court held, the rule of lenity required that Stone be re-sentenced using the base

offense level applicable to the least serious predicate acts. Id. The court explained:

       [i]n order to support a RICO conviction, the jury must have determined that
       Stone committed at least two acts of racketeering activity. 18 U.S.C.
       § 1961(5). We have no basis to conclude for sentencing purposes that Stone
       committed more than two such acts, nor is there any means to determine which
       of the four acts were found by the jury to involve Stone. In situations like this,
       the principles that underlie the rule of lenity counsel that ambiguities should
       be resolved in favor of the defendant.

Id. According to Bowling, this reasoning is equally applicable here.

       However, it is clear from the above-quoted passage that the Johnson court was

referring to Stone’s substantive RICO conviction, which required a finding, beyond a

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reasonable doubt, that Stone committed two or more predicate acts.3 See 18 U.S.C.

§ 1962(c); see also 18 U.S.C. § 1961(5) (defining “pattern of racketeering activity” as

“requir[ing] at least two acts of racketeering activity”); United States v. Lawson, 535 F.3d

434, 443 (6th Cir. 2006) (listing elements of substantive RICO charge, including “the

defendant’s participation in the conduct of the enterprise’s affairs . . . through a pattern of

racketeering activity”). On a RICO conspiracy charge, by contrast, the government need

only prove beyond a reasonable doubt that the defendant agreed to the commission of two

or more predicate acts. United States v. Corrado, 304 F.3d 593, 608 (6th Cir. 2002)

(Corrado V); see also Salinas v. United States, 522 U.S. 52, 66 (1997). For purposes of 18

U.S.C. § 1962(d), the object of the conspiracy is not the underlying racketeering activity, but

rather the violation of the RICO statute. United States v. Corrado, 227 F.3d 528, 541-42 (6th

Cir. 2000) (Corrado I). In other words, racketeering acts are “simply conduct that is relevant

to the central objective — participating in a criminal enterprise.” Id. at 542. Such conduct

“is determined at sentencing by a preponderance of the evidence.” Id. (citing United States

v. Carozza, 4 F.3d 70, 80 (1st Cir. 1993); United States v. Ruggiero,100 F.3d 284, 291 (2d

Cir. 1996)).




3        This reading is confirmed by a later opinion in the same case, United States v. Stone, 244 F. App’x
720, 721-22 (6th Cir. 2007), which Bowling cites. [See Record No. 1126, p. 5] In Stone, the Sixth Circuit
identified Count One as the substantive RICO charge and Count Two as the RICO conspiracy charge. See
244 F. App’x at 721. The court then explained: “[b]ecause the jury . . . returned only a general verdict of
guilty as to both charges, it is not clear whether the jury found Stone’s involvement in each of the four
predicate acts charged in Count One beyond a reasonable doubt. The district court agreed with Stone that
the Rule of Lenity mandated resolving this ambiguity in Stone’s favor.” Id. at 721-22.

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       The two cases cited by the Corrado I court in support of its conclusion – Carozza and

Ruggiero – are also instructive. The First Circuit held in Carozza that it was error to consider

only charged predicate acts when calculating the base offense level for a defendant’s RICO

conspiracy conviction. See 4 F.3d at 74. In Ruggiero, the Second Circuit found that the

district court had properly counted three uncharged racketeering acts as “underlying

racketeering activity” for purposes of determining their sentences for RICO conspiracy. See

100 F.3d at 292. Both courts noted that U.S.S.G. § 1B1.3 directs sentencing courts to

consider relevant conduct in determining “the base offense level where the guideline

specifies more than one base offense level” — as is the case with the RICO guideline. See

U.S.S.G. § 2E1.1; Carozza, 4 F.3d at 74-75; Ruggiero, 100 F.3d at 292. The Second Circuit

explained, “U.S.S.G. § 2E1.1[] specifies more than one offense level: it sets the base offense

level as the greater of 19 or the offense level applicable to the underlying racketeering

activity.” Ruggiero, 100 F.3d at 292. The Sixth Circuit has also noted the relationship

between §§ 2E1.1 and 1B1.3. See United States v. Tocco, 306 F.3d 279, 286 (6th Cir. 2002)

(“Racketeering activity constitutes ‘underlying racketeering activity’ under U.S.S.G. § 2E1.1

for the purpose of calculating a defendant’s base offense level for a RICO conviction if it

constitutes relevant conduct as defined in U.S.S.G. § 1B1.3.”).

       In summary, there is ample support for taking relevant conduct — including

uncharged acts — into account when calculating a defendant’s base offense level for RICO

conspiracy. Bowling’s rule-of-lenity argument under the Johnson line of cases is unavailing

because Johnson involved application of the rule of lenity to a substantive RICO conviction.

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Moreover, the two other cases cited by Bowling in support of his argument, United States

v. Randolph, 230 F.3d 243 (6th Cir. 2000), and United States v. Dale, 178 F.3d 429 (6th Cir.

1999), involved multi-object conspiracies as opposed to RICO conspiracies. Thus, their

reasoning is inapplicable to the present case. See Corrado I, 227 F.3d at 541-42 (noting the

“critical distinction” between multi-object conspiracies and RICO conspiracies under the

sentencing guidelines).

       II.    Relevant Conduct

       Bowling’s second additional argument is more misguided than his first. He contends

that “[a]fter the Court determines the applicable guideline section,” which he believes is

§ 2H2.1, “then the Court may decide whether it should consider other ‘relevant conduct’ in

how it applies that section.” [Record No. 1126, p. 6] According to Bowling, “[t]he

Guidelines make clear that the Court may not consider ‘relevant conduct’ in every instance,

but only when ‘the offenses are of a character for which § 3D1.2(d) would require grouping

of multiple counts.” Id. (quoting U.S.S.G. § 1B1.3(a)(2)). Bowling argues that, because

§ 2H2.1 is expressly excluded from the grouping rules under § 3D1.2(d), the Court may not

consider relevant conduct when calculating his sentence.

       This argument is based on a clear misreading of the relevant conduct guideline.

Rather than limiting the consideration of relevant conduct to cases involving offenses that

must be grouped, as Bowling maintains, § 1B1.3(a)(2) expands the relevant conduct inquiry

in those cases to include “acts and omissions . . . that were part of the same course of conduct

or common scheme or plan as the offense of conviction.” U.S.S.G. § 1B1.3(a)(2); see United

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States v. Gill, 348 F.3d 147, 152 (6th Cir. 2003) (citing relevant conduct definitions set forth

in §§ 1B1.3(a)(1)(A) and (B) and noting that “[i]n addition, ‘with respect to offenses of a

character for which § 3D1.2(d) would require grouping of multiple counts,’ relevant conduct

includes ‘all acts and omissions . . . that were part of the same course of conduct or common

scheme or plan as the offense of conduction.’” (omission in original) (emphasis added)

(quoting § 1B1.3(a)(2))); see also United States v. Settle, 414 F.3d 629, 632 n.2 (noting, after

citation of other § 1B1.3 subsections, that “[i]n certain cases, the relevant conduct includes

acts and omissions that the defendant caused ‘that were part of the same course of conduct

or common scheme or plan as the offense of conviction.’” (emphasis added) (quoting

§ 1B1.3(a)(2)). Bowling’s interpretation of § 1B1.3 is inconsistent with the plain language

of the guideline. As explained above, it is entirely proper for a court to engage in a relevant

conduct determination under § 1B1.3 when calculating a defendant’s base offense level for

a RICO violation. See Tocco, 306 F.3d at 286; Ruggiero,100 F.3d at 292; Carozza, 4 F.3d

at 74-75.

       Nor does the sole case Bowling cites on this issue, United States v. Tai, 994 F.2d 1204

(7th Cir. 1993), support his reading of § 1B1.3.4 The Seventh Circuit explained in Tai that

§ 1B1.3(a):

       first requires consideration of “all acts and omissions . . . that occurred during
       the commission of the offense of conviction, in preparation for that offense, or
       in the course of attempting to avoid detection or responsibility for that



4      Tai was not a RICO case. The court analyzed § 1B1.3 in the context of a role enhancement under
§ 3B1.1(a). See 994 F.2d at 1212.

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       offense.” “Preparation” for the offense of conviction must be distinguished
       from actions that are merely similar to or factually related to the offense of
       conviction, for such actions are covered by another subsection which applies
       only to a certain category of offenses. Specifically, § 1B1.3(a)(2) makes
       relevant “all acts and omissions . . . that were part of the same course of
       conduct or common scheme or plan as the offense of conviction,” but only
       with respect to offenses to which § 3D1.2(d) is applicable.

Id. at 1213 (omissions in original) (citations omitted). The Tai court found that, because the

defendant’s offense was not subject to grouping under § 3D1.2(d), the offense was not

covered by § 1B1.3(a)(2) and, “[a]s a result, any course of conduct or common scheme or

plan . . . cannot be considered in arriving at an offense-level increase.” Id. Thus, Tai merely

illustrates that a certain subsection of the relevant conduct guideline is applicable only to

groupable offenses. It lends no support to — and, in fact, undermines — Bowling’s position.

       Accordingly, it is hereby

       ORDERED that Defendant Stanley Bowling’s objections [Record No. 1153] based

on the rule of lenity and relevant conduct are OVERRULED.

       This 7th day of March, 2011.




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